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				Sam Harry			
		
	
			
			2017-10-30T10:04:28+00:00		
	
						
				
					
						


	
	
	
		
		
		

		
		 

		
		Potential Traffic Near Judicial Building 

		
		On Monday, May 7th GDOT will begin demolition and reconstruction of the Courtland Street Bridge.  Courtland Street will be closed from Gilmer Street to Martin Luther King, Jr. Drive. Vehicular traffic will be redirected around the construction site.   
	
	
	
		
		
		

		
		 

		
		Welcome to the  Supreme Court of Georgia. 

		
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		Opinions are published an average of twice a month.  On Fridays at 2 p.m., we will provide on our website a list of  any opinions due to come out the following Monday. 
	
	
	
		
		
		

		
		 

		
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							Supreme Court of Georgia244 Washington Street,&nbsp;Suite&nbsp;572
Atlanta, Georgia 30334
Phone: (404) 656-3470
FAX: (404) 656-2253
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Rule 3.15 Form
																					
																										
							Oral Argument CalendarCurrent Monthmay 2018Oral Arguments
									
										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
				07may10:00 am4:30 pmOral ArgumentsOral Arguments
									
										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
				09may10:00 am4:30 pmOral ArgumentsOral Arguments
									
										Cobb County Superior Court Ceremonial Courtroom
										
											70 Haynes St, Marietta, GA 30090
										
				21may10:00 am12:00 pmOral ArgumentsOral Arguments
									
										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
				22may10:00 am4:30 pmOral Argumentsjune 2018Oral Arguments
									
										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
				04jun10:00 am4:00 pmOral ArgumentsView Full Calendar
																					
																										
											News and Reports		
											
					5/4/18 – BUTTS DENIED STAY OF EXECUTION
									
											
					5/4/18 – Please note potential traffic issues near the Judicial Building
									
											
					5/2/18 – CHIEF JUDGE DILLARD TO HEAR GEORGIA SUPREME COURT CASE
									
											
					5/2/18 – JUDGE MERCIER TO HEAR GEORGIA SUPREME COURT CASE
									
											
					5/2/18 – JUDGE REESE TO HEAR GEORGIA SUPREME COURT CASE
									
											
					5/2/18 – JUDGE HUTCHINSON TO HEAR GEORGIA SUPREME COURT CASE
									
											
					5/2/18 – JUDGE SCARLETT TO HEAR GEORGIA SUPREME COURT CASE
									
					
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